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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LEXI NEGIN, Bar # 250376
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JENNIFER LYNN MACDOUGAL
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. CR-S-11-339 WBS
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION AND [PROPOSED] ORDER
13         v.                              )             TO CONTINUE CHANGE OF PLEA
                                           )             HEARING AND TO EXCLUDE TIME
14   JENNIFER LYNN MACDOUGAL,              )
                                           )
15                     Defendant.          )
                                           )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
18   Jason Hitt, Assistant United States Attorney, and Lexi Negin, Assistant Federal Defender, attorney for
19   defendant JENNIFER LYNN MACDOUGAL, that the change of plea hearing scheduled for Monday, October
20   22, 2012, be vacated and a new change of plea hearing date of Tuesday, November 13, 2012, at 9:30 a.m., be
21   set.
22          The reason for this continuance is because a proposed plea agreement is forthcoming from the
23   government, and defense counsel needs additional time to review the plea agreement with the client once it
24   is received.
25          It is further stipulated that the time for trial under the Speedy Trial Act should be excluded from the
26   date of the signing of this order through and including November 13, 2012, pursuant to 18 U.S.C.
27   ///
28   ///
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 1   §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4, and that the ends of justice to be
 2   served by granting the continuance outweigh the best interest of the public and the defendant to a speedy trial.
 3   Dated: October 16, 2012
 4                                                          Respectfully submitted,
 5                                                          DANIEL J. BRODERICK
                                                            Federal Defender
 6
                                                             /s/ Lexi Negin
 7                                                          LEXI NEGIN
                                                            Assistant Federal Defender
 8                                                          Attorney for Defendant
                                                            JENNIFER MACDOUGAL
 9
10   Dated: October 16, 2012                                BENJAMIN B. WAGNER
                                                            United States Attorney
11
                                                             /s/ Lexi Negin for
12                                                          JASON HITT
                                                            Assistant U.S. Attorney
13
14                                                     ORDER
15          Based on the reasons set forth in the stipulation of the parties filed on October 16, 2012, and good
16   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
17   ORDERED that the change of plea hearing currently scheduled for Monday, October 22, 2012, be vacated and
18   that the case be set for Monday, November 13, 2012, at 9:30 a.m. The Court finds that the ends of justice
19   to be served by granting a continuance outweigh the best interests of the public and the defendant in a speedy
20   trial. Accordingly, IT IS HEREBY ORDERED that the time within which the trial of this matter must be
21   commenced under the Speedy Trial Act is excluded during the time period of today’s date, through and
22   including November 13, 2012, pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4, due to the
23   need to provide defense counsel with the reasonable time to prepare taking into account due diligence.
24
     Dated: October 16, 2012
25
26
27
28                                                          2
